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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §   CASE NO. 4:16-cr-408
 v.                                              §
                                                 §
 ANDREW IAN FARMER (1),                          §
 JOHN DAVID BROTHERTON (5), and                  §
 CHARLES EARL GROB, JR. (7)                      §

                                             ORDER

       Pending before the Court is the government’s Partially Unopposed Motion to Clarify
Court’s Restitution Orders as Joint and Several. For the reasons stated by the government, the
Court hereby GRANTS the government’s motion and ORDERS the issuance of amended
judgments clarifying the following joint and several designations:

        •      Defendant Andrew Ian Farmer shall be joint and several with:

               o      Defendant John David Brotherton in the amount of $6,290,467.08

               o      Defendant Charles Earl Grob, Jr. in the amount of $4,586,395.98

               o      Defendant Thomas Galen Massey in the amount of $1,126,816.49

        •      Defendant John David Brotherton shall be joint and several with:

               o      Defendant Andrew Ian Farmer in the amount of $6,290,467.08

               o      Defendant Charles Earl Grob, Jr. in the amount of $4,265,155.34

               o      Defendant Thomas Galen Massey in the amount of $1,126,816.49

        •      Charles Earl Grob, Jr. shall be joint and several with:

               o      Defendant Andrew Ian Farmer in the amount of $4,586,395.98

               o      Defendant John David Brotherton in the amount of $4,265,155.34

               o      Defendant Thomas Galen Massey in the amount of $1,126,816.49

        IT IS SO ORDERED.

        Signed on this ______ day of October, 2021.


                                                      ___________________
                                                      Vanessa D. Gilmore
                                                      U.S. District Court Judge
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